       Case 06-32011-sgj13 Doc 17 Filed 07/16/06 Entered 07/16/06 23:49:33     Desc
                                                                          U.S. BANKRUPTCY COURT
                                                                        NORTHERN DISTRICT OF TEXAS
                         Imaged Certificate of Service Page 1 of 2
                                                                                    ENTERED
                                                                                 TAWANA C. MARSHALL, CLERK
                                                                                    THE DATE OF ENTRY IS
                                                                                   ON THE COURT'S DOCKET




 The following constitutes the ruling of the court and has the force and effect therein described.



Signed July 14, 2006                                       United States Bankruptcy Judge
             Case 06-32011-sgj13 Doc 17 Filed 07/16/06 Entered 07/16/06 23:49:33                                           Desc
                               Imaged Certificate of Service Page 2 of 2
 Bankruptcy Noticing Center
 2525 Network Place, 3rd Floor
                                 CERTIFICATE OF SERVICE
 Herndon, Virginia 20171-3514

 District/off: 0539-3                 User: rfranzen                      Page 1 of 1                         Date Rcvd: Jul 14, 2006
 Case: 06-32011                       Form ID: pdf013                     Total Served: 8

 The following entities were served by first class mail on Jul 16, 2006.
 db          +Shuntay R White,   4115 Joe Ramsey Apt 259,    Greenville, TX 75401-7756
 10164928    +Credit Bureau of Columbus Services,    236 East Town St,   Columbus, OH 43215-4631
 10164929    +Credit Collection Services,    2 Wells Avenue,   Newton, MA 02459-3246
 10164930    +Law Office of Greg Wiley P.L.L.C.,    555 Republic Drive, Suite 200,    Plano, Texas 75074-5469
 10164932   ++TOYOTA MOTOR CREDIT CORPORATION,    PO BOX 8026,   CEDAR RAPIDS IA 52408-8026
              (address filed with court: Toyota Motor Credit Corporation,     5005 North River Blvd N.E.,
                Cedar Rapids, IA 52411-6634)
 10205074     Toyota Motor Credit Corp/Toyota Financial Services,    5005 North River Blvd NE,
                Cedar Rapids, IA 52411-6634
 10164933    +US Trustee Office,   1100 Commerce St, Rm 976,    Dallas, TX 75242-0996
 10164934    +Volkswagen Credit,   2333 Waukeegan Rd,    Deerfield, IL 60015-5508
 The following entities were served by electronic transmission.
 NONE.                                                                                                              TOTAL: 0
               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 10164931*      +Shuntay R White,   4115 Joe Ramsey Apt 259,   Greenville, TX 75401-7756
                                                                                                                    TOTALS: 0, * 1
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.
 Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
 pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Service and that it is true and correct to the best of my information and belief.

First Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.




Date: Jul 16, 2006                                      Signature:
